Case 08-13141-BLS   Doc 6558-3   Filed 11/22/10   Page 1 of 5




                      Exhibit C
            Case 08-13141-BLS            Doc 6558-3        Filed 11/22/10        Page 2 of 5




                                       TRIBUNE COMPANY

            UNANIMOUS WRJ'liEN CONSENT OF THE BOARD OF DIRECTORS

                                     IN LIEU OF A MEETING

                                           August 26. 2010

               The undersigned, being all of the members of the Board of Directors (the "Boan]")
of Tribune Company. a Delaware corporation (the "Company"), hereby consent to the adoption of
the fullowing resolutions pursuant to Article IV, Section 6 of the Amended and Restated Bylaws of
the Company (the "Bylaws") and Section 141(0 of the General Corporation Law of the State of
Delaware, as amended (the "QQ.Q,,"):

       WHEREAS. in accordance with Section 141(c) of the DOCL and the applicable
provisions of the Bylaws, the Board now deems it appropriate to establish a special committee of
the Board for the purpose of supervising and taking action with respect to the Company's and its
subsidiaries' proceedings under chapter II of title II of the United States Code (the "BClnkru~ucy
Code") in the United States Bankruptcy Court for the District of Delaware (the "Chapter J1
Proceedi ngs").

        RESOLVED, that, in accordance with Section 141(c) of the DOCL and the applicable
provisions of the Bylaws. a committee of the Board (the "Special Committee") be and hereby is
established that shall have and may exercise all of the powers and authority of the Board with
respect to any and all matters relating to the Chapter 11 Proceedings, including, without limitation,
to:

     (i)     review, evaluate and approve, from time to time as appropriate or advisable, the
             structure, terms or conditions of, and authorize the execution and filing of, any plan of
             reorganization and any and all amendments, modifications. supplements and exhibits
             thereto (each, a "Plan");

     (ii)    take such action from time to time, as the Special Commillee deems appropriate or
             advisable, to resolve any and all claims, causes of action, avoidance powers or rights,
             and legal or equitable remedies against the Company or any of its subsidiaries
             ("Claims"), including. without limitation. any Claims arising from any transaction
             related to the leveraged buy-out of the Company. including, without limitation. the
             purchase by the Company of its common stock on or about June 4. 2()07. the merger
             anti rdal~tltral1sactions involving the Company on or about December 20. 2()07. and
             any lioancing commined to. incurred or repaid in connection with any such transactioll.
             regardless of whether such Claims may be asserted pursuant to the Bankruptcy Code or
             any other applicablc law. including. without limitation. the review. evaluation and
             approval of any support agreement or any agreement for the satisfaction, settlement.
             discharge andlor release of any such Claims;

     (iii) take such action from time to time as the Special Committee deems appropriate or
           aovisaole to fully inform itself with respect to any Claims or the structure, terms or
           condil ions of any Plan;




                                                                                         MW-0000005
            Case 08-13141-BLS           Doc 6558-3        Filed 11/22/10        Page 3 of 5




      (iv) review, evaluate and approve, and authorize the execution and filing of. any and all
           petitions. schedules, motions. lists. applications. pleadings. and other papers. and to
           take any and all further actions the Special Commiuee deems appropriate or advisable
           in connection with the Chapter II Proceedings; and

      (v)    take such other actions to assist the Board in carrying out its responsibilities as the
             Board may delegate to or request of the Special Committee from time to time;

         RESOLVED, that the Company and its advisors may not file and pursue any Plan unless
the Plan has been approved by the Special Comminee and. if required by law, the Company's
certificate of incorporation or bylaws. or deemed desirable by the Special Committee in its
discretion, recommended by the Special Committee to the Board for its approval and approved by
the Board;

        RESOLVED, that each of Jeffrey S, Berg, Mark Shapiro, Maggie Wilderotter and Frank
Wood, be and hereby is. appointed to serve as a member ("Members") of the Special Committee,
with Mr, Shapiro serving as the Chair of the Special Committee, and shall hold such membership
until such person's successor is duly appointed and qualified or until such person's earlier death.
resignation or removal;

        RESOLVED, that the Special Committee shall obtain assistance, information amI/or
services from the officers and employees of the Company and its affiliates and the legal counsel.
financial advisors. accountants and other professionals retained by the Company in carrying out its
responsibilities as set forth in these resolutions;

         RESOLVED, that the Special Committee is authorized to employ and retain, at the
Company's expense, legal counsel, financial advisors, accountants and other professionals
(collectively. "Professional Advisors") or utilize the services of Professional Advisors retained by
the Company (previously or in the future), in each case, to advise the Special Committee, as it
deems necessary or advisable, to assist the Special Committee in carrying out its responsibilities us
set forth in these resolutions;

        RESOLVED, thallhe Special Committee be, and hereby is, authorized to enter into. on
behalf of the Company, such contracts or arrangements providing for the retention, compensation.
reimbursement of expenses and indemnification of such Professional Advisors as the Special
Committee may deem necessary or appropriate and thatlhe Company be, and hereby is, directed to
pay all fees and expenses of such Professional Advisors and to honor all other obligations of the
Company under such contral.:ts or arrangements;

       RESOLVED, lhal the Company shall reimburse or advance funds [0 memhers of the
Special Committee for any and all additional costs and expenses incurred by such members in
connection with their servict: on the Special Committee;

       RESOLVED. that the Special Committee Members will be entitled to the same limitation
of liability and indemnification afforded to directors of the Company as set forth in Articles
Sevt:nth and Eighth of the Amended and Restated Certificate of Incorporation of the Company and,
wllhout limitation, will be indemnified to the full extent provided by any existing director and
,lIflt:cr indemnity agrl!cments. rhc Company's Amended and Restated Certiticatl' of IncorporutilHl




                                                                                       MW-0000006
          Case 08-13141-BLS            Doc 6558-3        Filed 11/22/10        Page 4 of 5




and bylaws and Del(lware law for all acts or omissions to act by any such Committee Member in
connection with his or her service as such;

        RESOLVED. that the Special Committee and its advisors are authorized to have access 10
the books, records and other documents or information orthe Company and its affiliates, in each as
case as the Special Committee and its advisors deem necessary, advisable or convenient to assist
the Special Committee in performing its duties;

        RESOLVED, that the appropriate officer,; and employees of the Company be, and they
hereby are. authorized and directed to cooperate fully with the Special Committee and its advisors.
including, without limitation, providing the Special Committee, its advisors and such third parties
as the Special Committee may designate any and all information relating to the Company
requested by or on behalf of the Special Committee, all to the extent determined by the Special
Committee to be necessary. desirable or appropriate;

         RESOLVED, that the Special Committee shall report to the Board in regard of its
activities at such times and in such manner as the Board shall deem appropriate;

        RESOLVED, that consistent with the foregoing resolutions and subject to the direction of
the Special Committee, the proper officers of the Company be, and each of them hereby is,
authorized and empowered to take any additional action and to execute and deliver any and ull
additional documents. instruments or certificates on behalf of the Company, and 10 pay such
amounts or to do or cause to be done any and all other things as the Special Committee may deem
necessary, appropriate or desirable to carry out the intent of each of the foregoing resolutions;

        RESOLVED, that the Special Committee be, and it hereby is, authorized to establish its
own rules and procedures for convening and conducting meetings and otherwise carrying out its
duties and authority as herein contemplated; and

        RESOLVED, that the authority hereby delegated to the Special Committee and the
foregoing resolutions will operate from the time of approval by the Board until the earlier of (a)
such time as the Board shall detennine and (b) the Committee's determination. in its sole
discretion, as set forth in its written notice to the Secretary of the Company, that the Special
Committee's continuation is no longer necessary, desirable or appropriate.


                       [Director signatures appear on the following page J




                                               J


                                                                                    MW-0000007
       Case 08-13141-BLS        Doc 6558-3        Filed 11/22/10   Page 5 of 5




      IN WITNESS WHEREOF, the undersigned have executed this Unanimous Written
Consent on the dale first above written.



     Samuel Zell                               Jeffrey S. Berg




     Brain l. Greenspun                        BeLO;y D. Holden




     Randy Michaels                            William A. Osborn




     William Pate                              Mark Shapiro




     Maggie Wilderotter                        Frank Wood


                          Being all of the Members of the
                              Board of Directors of
                             TRIBUNE COMPANV




                                         4


                                                                         MW-0000008
